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                             UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION – CINCINNATI

In re:                                               :     Case No. 18-13425
                                                     :
         Joshua Jones                                :     Chapter 13
         Amanda Jones                                :
                                                     :     Judge Hopkins
         Debtor(s)                                   :
                                                     :     APPLICATION OF CHAPTER 13
                                                     :     DEBTOR TO EMPLOY PROFESSIONAL

        Now comes Debtor Joshua Jones (“Debtor”), by and through counsel, and respectfully represents
as follows:

         The Debtor proposes to retain Brian Flick of Dann Law Firm to represent debtor with regard to a
class action claim.

        To the best of the debtor(s) knowledge Brian Flick is not currently representing the debtor(s)
other than in connection with this case and has no interest adverse to the debtor(s) or his/her estate.

         A copy of the fee agreement is attached hereto.

        WHEREFORE, the Debtor requests that the employment of Brian Flick as counsel for the
Debtor in his case be approved and that Brian Flick be authorized to be compensated pursuant to Federal
Rule of Bankruptcy Procedure 2016.

                                                  Respectfully submitted,

                                                  /s/ Nicholas A. Zingarelli (OH-0079110)
                                                  Nicholas A. Zingarelli (OH-0079110)
                                                  ZINGARELLI LAW OFFICE, LLC.
                                                  810 Sycamore Street – Third Floor
                                                  Cincinnati, OH 45202
                                                  Ph: (513) 381-2047
                                                  Fx: (513) 263-9006
                                                  nick@zingarellilaw.com

                                   NOTICE OF MOTION (20A Notice)
The Debtor has filed papers with the Court to have an order issued permitting employment of a
professional. Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.) If you do not want the Court to grant such an order, or if you want the Court
to consider your views on the motion, then on or before twenty-one (21) days following the date this
notice was sent to you or at the completion of such other timeframe that the Court otherwise orders, you
or your attorney must: File with the court a written response to the objection, explaining your position, at:
Clerk of Court, U.S. Bankruptcy Court, Atrium Two, Suite 800, 221 East Fourth Street, Cincinnati, Ohio
45202. If you mail your response to the court for filing, you must mail it early enough so that the court
will receive it on or before the date described above. You must also mail a copy to the following parties:
Zingarelli Law Office, LLC, 810 Sycamore St., 3rd Floor, Cincinnati, Ohio 45202; Margaret A. Burks,
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Chapter 13 Trustee, 600 Vine Street, Suite 2200, Cincinnati, Ohio 45202; and the U.S. Trustee, 36 East
Seventh Street, Suite 2030, Cincinnati, Ohio 45202. Additionally, you must attend the hearing on the
objection to be scheduled by the Court by future notice. If you or your attorney do not take these steps,
the court may decide that you do not oppose the relief sought in the motion or objection and may enter an
order granting that relief.

                                       CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing Application to Employ Professional was served (i)
electronically on the date of filing through the court’s ECF System on all ECF participants registered in
this case at the email address registered with the court and (ii) by ordinary U.S. mail on February 28, 2019
                                         Belfast, ME 04915                     Silver Spring, MD 20910-
American Student Assistance                                                    5673
100 Cambridge Street                     US BANK
Suite 1600                               PO BOX 5229                           Midland Funding
Boston, MA 02114-2567                    CINCINNATI OH 45201-                  2365 Northside Dr., Ste. 300
                                         5229                                  San Diego, CA 92108-2709
Antero Capital, LLC
PO BOX 1931                              Financial        Management           Mr. Cooper
Burlingame, CA 94011-1931                Solutions                             PO Box 650783
                                         9001 Edmonston Rd #20                 Dallas, TX 75265-0783
CREDITORS                                Greenbelt, MD 20770-1000
BANKRUPTCY SERVICE                                                             Nationstar Mortgage LLC
PO BOX 800849                            GLHEC       &     Aff      obo        d/b/a Mr. Cooper
DALLAS TX 75380-0849                     GLHEGC                                P.O. Box 619094
                                         PO Box 8961                           Dallas, TX 75261-9094
Barclays                                 Madison WI 53708-8961
PO Box 13337                                                                   Navient
Philadelphia, PA 19101-3337              Great Lakes                           PO Box 9500
                                         PO Box 3059                           Wilkes Barre, PA 18773-
CMRE Financial Services                  Milwaukee, WI 53201-3059              9500
3075 E. Imperial HWY, Suite
200                                      Lisa Conn                             Ocwen Loan Servicing
Brea, CA 92821-6753                      10655 Springfield Pike                P.O. Box 24738
                                         Cincinnati, OH 45215-1120             West Palm Beach, FL 33416-
Columbus Radiology                                                             4738
PO Box 713999                            Macy's
Cincinnati, OH 45271-3999                9111 Duke Blvd.                       One Main Financial
                                         Mason, OH 45040-8999                  PO Box 70911
Commons of Eastgate Unit                                                       Charlotte, NC 28272-0911
Owners Assoc.                            Mercy Anderson Hospital
c/o Board of Directors                   4600 McAuley Place                    OneMain
943 Creek Knoll Drive                    Cincinnati, OH 45242-4733             P.O. Box 3251
Milford, OH 45150-1515                                                         Evansville, IN. 47731-3251
                                         Mercy Health
ECMC                                     P.O. Box 740405                       PORTFOLIO RECOVERY
PO BOX 16408                             Cincinnati, OH 45263-0001             ASSOCIATES LLC
SAINT PAUL, MN 55116-                                                          PO BOX 41067
0408                                     Metro Immediate Primary               NORFOLK VA 23541-1067
                                         Care
EMP of Cincinnati, LTD.                  8484 Georgia Ave ste 100              T MOBILE
PO Box 10499
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C      O    AMERICAN          PO Box 108                         Greenville, TX 75403-5609
INFOSOURCE LP                 St. Louis MO 63166-0108
4515 N SANTA FE AVE                                              University of Phoenix
OKLAHOMA CITY OK              UC Health                          3157 E. Elwood Street
73118-7901                    3200 Burnet Avenue                 Phoenix, AZ 85034-7209
                              Cincinnati, OH 45229-3019
U.S. Bank NA dba Elan                                            Joshua and Amanda Jones
Financial Services            US Department of Education         1077 Kensington Ln.
Bankruptcy Department         PO Box 5609                        Cincinnati, OH 45245-1567




                                               /s/ Nicholas A. Zingarelli (OH-0079110)
                                               Nicholas A. Zingarelli (OH-0079110)
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                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                          WESTERN DIVISION

     In re:                                                     Case No. 18-13425

               Joshua Jones                                     Chapter 13
               Amanda Jones
                                                                Judge Hopkins
               Debtor(s)
                                                                AFFIDAVIT OF ATTORNEY SEEKING
                                                                TO REPRESENT DEBTOR

    STATE OF OHIO, COUNTY OF HAMILTON, SS:

              Brian Flick, Esq., being first duly sworn and cautioned, states as follows:

        1.        I am an attorney admitted to practice law in the State of Ohio. I am an attorney practicing in
                  the law firm of DannLaw which has offices at 2181 Victory Parkway, Suite 101
                  Cincinnati, Ohio 45206. I am authorized by DannLaw to represent the Debtor(s) in a class
                  action claim.

        2.        Insofar as I have been able to ascertain, neither I nor my law firm represents any interest,
                  other than as set forth herein, which would be adverse to the interests of the debtor or debtor's
                  estate. The creditors, any other party in interest, their respective attorneys and accountants,
                  the United States Trustee, or any person employed in the office of the United States Trustee.

        3.        Based upon the foregoing, I believe that neither I nor my law firm is a disqualified person
                  within the meaning of section 101(14) and section 327 of the United States Bankruptcy Code
                  and Bankruptcy Rule 5002 and 2014.

        4.        The customary and proposed compensation is set forth in attached Fee Agreement executed
                  by the und=igned affiant.                            ~-,
                                                                Isl   ~~
                                                                Brian'F'

    STATE OF OHIO                      )
                                               ) ss
    COUNTY OF HAMILTON                         )

    Before me, a Notary Public in and for said county, personally appeared the above named Brian Flick, who
    acknowledged that he did sign the foregoing instrument and that the same is his free act and deed.
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                                           Illinois I Kentucky I Ohio I New Jersey I N·ew York




 *
                                          BE1AINEB AGNiEMENT
 Joshua V. Jones :

 By the tenns of this Retainer Agreement ("Agreement"), Joshua V. Jones ("Client") retains the law finn of
 DannLitw ("Attorneys") and any Attorneys DannLaw may retain as Co-Counsel to your matter ("
 Co-Counsel") to provide legal services and represent the Client, individually, and as the class representative in
 a class action complaint, Bankruptcy Class Action against UC Health, and other matters related thereto. This
 Agreement sets forth these tenns and replaces all prior agreements entered into between the parties.

 In consideration for the· services now being rendered, and the services to be rendered, by the Attorneys
 regarding the settlement or prosecution of the said claims, I hereby agree to the following:

         1. I authorize the Attorneys to bring suit and or to negotiate a settlement of my claims on an
            individual basis or class-wide basis. There will be no charge for services in the prosecution of any
            of my said claims unless a recovery is made. If a recovery is made, regardless of whether the case
            is certified by the court as a class action or whether I enter into an individual settlement, I
            understand and agree that the Attorneys shall be entitled to, an 1;1.ward of Attorneys' fees based
            upon a percentage of the fund created by successful litigation (if there is a class settlement and a
            class fund is created), based upon a lodestar method, or based upon some other method such as
            agreement between the parties. I understand that the lodestar method is based upon the time the
            Attorneys have spent on the case at their hourly rates, which may be increased by a multiplier
            where appropriate. Regardless of whether the case is certified by the court as a class action or
            whether I enter into an individual settlement, I authorize the Attorneys to recover Attorneys' fees
            based upon a lodestar method or any other method authorized by law, to be divided between them
            as they see fit.

             I authorize the Attorneys to associate with other law firms and attorneys in this matter, and share
             any portion of the Attorneys' fees with those other law firms and attorneys. The fee sharing
             arrangements will in no way impact my fee obligations, as the total amount of Attorneys' fees will
             not be increased, but rather the Attorneys will simply be sharing a portion of the fees with the
             other law firms and attorneys.

             In the event settlement is achieved by means of a combination of an initial lump sum payment and
             future installment payments (such as an annuity or structured settlement or other form of deferred
             compensation), the Attorneys' fees as to present and future payment shall be paid to the Attorneys
             at the time of settlem~t from the initial lump sum payment and shall be computed l!pon the entire
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           settlement amount, including the present cash value of said future inst;dlment payments.

           I understand that Attorneys will file all necessary documentation within my Bankruptcy Case for
           employment pursuant to Rule 2016 of the Federal Rules of Bankruptcy Procedure and any
           applicable Local Rule.

       2. In addition to the Attorneys' fees stated above, I unders~d that the Attorneys will advance the
          costs and expenses incurred in connection with their perfonnance of services, including filing fees,
          witness and expert fees, fees for court reporters and transcripts, long distance telephone,
          messenger or overnight delivery services, copying costs, postage, supplies, travel expenses,
          deposits and other expenses as the Attorneys incur. I authorize the Attorneys to deduct from the
          amounts collected all of the expenses they have incurred, and all expenses shall be deducted after
          the Attorneys' fee is calculated regardless of whether the case is certified as a class action.

       3. I agree that this retainer agreement also confers upon the Attorneys a lien on any money recovered
          in any case to assure payment of their fees and expenses. Additionally, I confer upon and grant the
          Attorneys a "power of attorney" to act in my behalf relative to the said claims with all of the
          authority and powers provided by law, such as signing my name on legal papers and endorsing my
          name on negotiable instrumet),ts, Said ''power of attorney" shall remain in effect for as long as the
          Attorneys are representing me relative to the said claims.

       4. I agree to be the class representative, I understand that mean$ I am willing to sue on my behalf
          and on behalf of all other people similarly situated. I have discussed with the Attorneys the
          responsibilities of serving as a class repfesentative, and I understand those fesponsibilities.

       5. The Attorneys have advised me that I should not communicate with anyone regarding this matter
          without first consulting with them, and the Attorneys are not responsible for whatever transpired
          in this matter before this date.

       6. In the event that Attorneys, after investigation of this case or any time thereafter, determine that it
          is not feasible to pursue this case to conclusion, Client agrees to release Attorneys from any
          further responsibility under this contract, and Attorneys agree to release Client from any further
          responsibility under this contract with the exception ofreimbursement of expenses set forthherein.


       7. I understand that any recovery I may receive may be subject to turnover to my Bankruptcy
          Trustee. I understand that l need to consult my Bankruptcy Attorney about how any recovery I
          may receive may impact my Bankruptcy Case. I understand that DannLaw does not represent me
          in my Bankruptcy Case.

       8. I understand this entire agreement is subject to the Bankruptcy Court's approval pursuant to 11
          U.S.C. 105 and Rule 2016 of the Federal Rules of Bankruptcy Procedure.· I understand that any
          settlement due to me and my attorneys is subject to final review ::jlld approval by the Bankruptcy
          Court pursuant to 11 U.S.C. 105 and Rule 9019 of Federal Rules of Bankruptcy Procedure.




 DannLaw.com                                                                         Ph. (216) 373~0539
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 Joshua V. Jones, individually, and
 as a class representative in a class action,




 By:
                       vi
 Date:      15 Feh 4
                                                                       DannLaw




                                                          By:
                                                                  MarcE. Dann




 Co-Counsel Disclosure:

 Attorneys and Client agree that pursuant to the terms of the fee agreement, the undersigned attorney(s)
 ("Co-Counsel") has been retained as co-counsel in this matter. DannLaw and Co-Counsel assume joint
 responsibility in this case. Division of attorneys' fees shall be based on the following formula: a) The firm
 originating the client shall be entitled to twenty percent (20%) of the net collected fees; b) The remaining
 eighty percent (80%) of the fees shall be divided pmportionally based lodestar of hours billed by each firm in
 any particular case.




 By:




              -'l ..




 DannLaw,com:                                                                         Ph. (216) 373-0539
